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                     UNITED STATES COURT OF APPEALS                     FILED
                            FOR THE NINTH CIRCUIT                        MAY 3 2024
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
UNITED STATES OF AMERICA, USA on                No.   23-16054
behalf of RURAL UTILITIES SERVICE
("RUS"), an agency of the Department of         D.C. No.
Agriculture on behalf of Rural Utilities        1:18-cv-00145-JMS-RT
Service,                                        District of Hawaii,
                                                Honolulu
                Plaintiff-Appellee,
                                                ORDER

  v.


TAMASHIRO SOGI & BONNER, ALC,

                Creditor-Appellant,

  v.

SANDWICH ISLES COMMUNICATIONS,
INC.; et al.,

                Defendants,

 and

FIRST INSURANCE COMPANY OF
HAWAII, LTD., Garnishee,

       Real-party-in-interest-
       Appellee.



       The court is of the unanimous opinion that the facts and legal arguments are

adequately presented in the briefs and record, and that the decisional process would



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not be significantly aided by oral argument. Therefore, this matter is ordered

submitted without oral argument on Wednesday, June 12, 2024, in Honolulu,

Hawaii. Fed. R. App. P. 34(a)(2)(C).




                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT




                                         2
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